THE UNITED STATES DISTRICT COURT FOR THE
WESTERN I)ISTRICT OF MISSOURI

IN THE MATTER oF A CRIMINAL }%/m)‘ , WW£

COMPLAINT AGAINS'I`
NATHAN ROGER BELCHER
AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

l, Stacy Lee l\/loore, a Special Agent with the Federal Bureau of lnvestigation (FBl), being duly
sworn, depose and state as follows:

I. i have been employed as a Special Agent with the FBl since 2004, and l am currently assigned to
the Kansas City Division, Joplin, l\/lissouri, Resident Agency. Since joining the FBI, l have
conducted investigations involving kidnapping and the sexual exploitation of children, including
coercion and enticement and transportation of minors.

2. As part of my duties with FBI, l investigate criminal violations relating to child exploitation,
child pornography, and coercion and enticement, in violation of 18 U.S.C. §§ 2251, 2422(a) and
(b), 2252(a), and 2252A.

3. The statements in this affidavit are based on personal observations, my training and experience,
investigation of this matter, and information obtained from other agents and Witnesses. Because
this affidavit is being submitted for the limited purpose of securing a criminal complaint, this
affiant has not included each and every fact known to me concerning this investigation The
affiant has set forth the facts necessary to establish probable cause to believe that Nathan Roger
Belcher has violated 18 U,S.C. § 2423(a), that is, transportation with intent to engage in criminal
sexual acitivity.

STATUTORY AUTHORITY
4. 18 U.S.C. § 2251(a) prohibits a person from knowingly transporting an individual who has not

attained the age of l 8 years in interstate or foreign commerce, or in any commonwealth, territory

Case 6:18-mj-02056-DPR Document 1-1 Filed 08/22/18 Page 1 of 8

or possession ofthe United States, with intent that the individual engage in prostitution, or in any
sexual activity for which any person can be charged with a criminal offense.

PROBABLE CAUSE
On February 25, 2018, at approximately 3:57 a.m., Columbus, Kansas, Police Department (CPD)
Off`icer Corie Brown initiated a traffic stop on a vehicle at West County Road, Colurnbus,
Cherokee County, Kansas. The vehicle was traveling without headlights.
Officer Brown approached the vehicle and noted there were three individuals inside the vehicle,
an adult male driver and two minor female passengers Offlcer Brown asked the male driver for
his identification, Which he provided, and he identified himseld as 28-year-old Nathan Roger
Belcher (hereinafter “Be|cher”).
After identifying Belcher, Off`:cer Brown questioned the two minor female passengers in the
vehicle. The minor females were identified as Jane Doe l (DOB **/**/2002), and lane Doe 2
(DOB **/**/2008). .lane Does l and 2 stated that their parents did not know they had left their
residence and were traveling with Belcher. Jane Does l and 2 also stated that they were
traveling with Belcher to a cemetery in Baxter Springs, Kansas, to visit the grave ofa friend.
After speaking with the lane Does, Officer Brown then questioned Belcher. Belcher stated that
he had traveled from Carl lunction, l\/lissouri, to drop off friends in Columbus. Once he was in
Columbus, he picked up Jane Does l and 2 so that he could take them to a church in Baxter
Springs. Belcher informed Off`icer Brown that he was not related to either Jane Doe l or lane
Doe 2. Offlcer Brown took custody of the lane Does, and she released Belcher from the scene of
the traffic stop.
On February 25, 2018, detectives with the Cherokee County, Kansas, Sheriff’s Office (CCSO)

interviewed lane Doe l at her residence During this interview, Jane Doe l stated that Belcher

Case 6:18-mj-02056-DPR Document 1-1 Filed 08/22/18 Page 2 of 8

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had contacted her in the early morning hours of February 25, 2018, using Facebook Messenger.
Belcher sent Jane Doe l a message that stated he was going to travel from his house in Carl
Junction to her residence in Kansas to pick up her and Jane Doe 2. Belcher told her that he
would to take them to a cemetery in Baxter Springs. Jane Doe l responded that it was late and
that she did not want to go with him. Belcher replied that Jane Doe l and Jane Doe 2 were going
to go with him, or he would harm Jane Doe l’s younger sisters. A short time after Belcher sent
that message, he arrived at Jane Doe l’s residence in Columbus. After Jane Does l and 2 exited
the residence, they got into Belcher’s vehicle. Belcher told Jane Doe l to delete the Facebook
Messenger messages that he had sent her.

After speaking with Jane Doe l, the CCSO detectives spoke with lane Doe 2. Jane Doe 2 stated
that Jane Doe l was her stepsister, and she explained that she had spent the night at Jane Doe l’s
residence on February 24, 2018. Jane Doe stated that Jane Doe l woke her up to tell her they
were going to see the grave site at the Baxter Springs Cemetary where a friend was buried. lane
Doe 2 observed several Facebook l\/lessenger messages between lane Doe l and Belcher. Jane
Doe 2 recalled that in one message Belcher asked Jane Doe l ifJane Doe 2 was “horny.” ln the
next three messages. jane Doe 2 saw Belcher stated he was in “Galena,” then “Riverton,” and
then “here.” Jane Doe 2 stated she and Jane Doe l left out the back door ofthe residence and got
into Belcher’s red, four-door vehicle.

On February 26, 2018, jane Doe l was re-interviewed by the CCSO detectives During this
interview, Jane Doe l disclosed that in August 2017, Belcher had traveled to her residence in
Columbus while she was babysitting her younger siblings. Jane Doe l stated that while Belcher
was at her residence, he came into her bedroom and had non-consensual sexual intercourse with

her. Jane Doe l stated this only happened on one occasion. Jane Doe l stated that she knew that

Case 6:18-mj-02056-DPR Document 1-1 Filed 08/22/18 Page 3 of 8

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Belcher had engaged in sexual intercourse with her friend, another minor in Kansas, Jane Doe 3
(DOB **/**/2003).

On February 27, 2018, Belcher was arrested on a warrant issued by the Cherokee County,
Kansas, District Court. CCSO detectives Beau Hamlin and Travis Fields responded to the Jasper
County, l\/lissouri1 Sheriff"s Offrce (.ICSO), where Belcher was being detained. Post-Mt`randa,
Belcher stated that Jane Doe l was a friend whom he spoke with for emotional support Belcher
stated that he has a child with S.B., who is the sister of Jane Doe 3. Jane Doe l is friends with
S.B. and Jane Doe 3, and that is how Belcher got to know lane Doe l. Belcher stated that he
spoke with Jane Doe l over text messages or in person. Belcher stated that he had a Facebook
account under the user name "‘Nathan Belcher," but that he had deactivated it over a month ago.
When asked if he also had a Facebook account under user name “Roger Belch,” Belcher
admitted that he did and that he deactivated that account on February 25, 2018.

Belcher was asked about the night of February 25, 20181 and he stated that Jane Doe l had
agreed to go with him to the cemetery. When asked to go into details about their messages,
Belcher advised he did not wish to speak anymore. Belcher had a cellular phone, a Samsung
model number Sl\/l-G900A, ll\/IEI 35341 1065540868, on his person at the time of his arrest,
which was placed into his personal property at the Jasper County Jail. After Belcher was
arrested, the CCSO seized Belcher’s cellular phone, applied for, and received a search warrant
from the Cherokee County, Kansas, District Court.

On February 28, 2018, the CCSO detectives interviewed Jane Doe 3. Jane Doe 3 stated that her
sister, S.B., and Belcher had a child together and that she had known Belcher for approximately
five years. Jane Doe 3 explained that she communicated with Belcher through text messages and

Facebook l\/lessenger. Jane Doe 3 stated that Belcher’s Facebook user name was “Roger

Case 6:18-mj-02056-DPR Document 1-1 Filed 08/22/18 Page 4 of 8

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Belcher.” Jane Doe 3 also disclosed that on one occasion Belcher had sent her photographs of
his penis. Jane Doe 3 told the detectives that she and Belcher had engaged in sexual intercourse
on two occasions, once at a residence in Missouri and once near a creek outside Neosho,
Missouri. Jane Doe 3 informed the detectives that the sexual intercourse was not consensual.
Jane Doe 3 stated that the occasion at the creek, lane Doe l and another minor friend, Jane Doe
4, were present.

On February 28, 2018, CCSO detectives spoke with Jane Doe 4. Jane Doe 4 confirmed that she
is friends with Jane Does l and 3. Jane Doe 4 stated that Belcher did have sex with Jane Doe 3
at a creek in Neosho, Missouri. Jane Doe 4 thought this occurred in the summer of 2017. Jane
Doe 4 stated that Belcher goes by “Roger.” Jane Doe 4 stated that Belcher kept trying to “get
down [Jane Doe 3’s] pants.” After they left the creek, Jane Does l, 3, and 4 went with Belcher
to Schermerhorn Park in Galena, Kansas. 'I`hey attended an event on the Route 66 Bridge. lane
Doe 4 also recalled an incident where she was at Jane Doe 3’s hous is\ Kansas, along with lane
Doe l, and Jane Doe 3’5 minor sister. Belcher came over with his child and had them babysit,
while he had sex with Jane Doe 3 in the living room. Jane Doe 4 stated that Belcher’s Facebook
user name was “Nathan Beicher.”

Detective I-lamlin contacted the Galena City Clerk’s Office to inquire about any events that
occurred on the Route 66 Bridge in the summer of 2017. City Clerk Flora Charies advised that
an event took place on the Route 66 Bridge on July 22, 201 7. Charles stated that the event was
for the reopening of the bridge and there were vendors and live music.

On March 7, 2018, the affiant and FBI Task Force Officer (TFO) Chad Comer interviewed
Robert Seiber at his residence in Carl Junction, Missouri. Seiber stated that Belcher and his 20-

month-old child resided with him and his wife for the past few months. Seiber stated that

Case 6:18-mj-02056-DPR Document 1-1 Filed 08/22/18 Page 5 of 8

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Belcher would also stay at his parent’s home in Carl Junction, Missouri. Seiber stated that on
February 25, 2018, Beicher was staying at his residence Sieber received a call from Belcher
around l:30 a.m., asking when Seiber would be home because Belcher had to go to the lndigo
Sky Casino to pick up a friend. At approximately 2:00 a.m., Seiber arrived home and Belcher
left the residencel Seiber stated that Belcher called him around 4:00 a.m. asking for a ride.
Belcher stated that his car broke down. Seiber stated that he could not pick him up, so Belcher
stated he would call his father. Belcher returned to Seiber’s residence sometime between 4:30
a.m. and 5:00 a.m. on February 25, 201 8.

Seiber stated that Belcher had two Facebook accounts he knew of with the user names “Roger
Belcher" and “Roger Belch.”

The affiant ran Belcher’s name through the Missouri Department of Revenue database.
Belcher’s registered address on his driver’s license was his parent’s residence in Carl Junction,
Missouri.

The CCSO notified the affiant that after conducting a Cellbrite examination on Belcher’s cellular
phone, they determined his phone number was 417-434-3393 and his e-mai| address was
belchnatel 989@gmail.com.

The affiant issued an investigative subpoena to the carrier of Belcher’s cellular phone, AT&T
Mobility, requesting subscriber information AT&T responded to the subpoena on March 8,
2018. The subscriber for the phone was Barry Belcher, Belcher’s father, at a billing address in
Carl Junction, Missouri. The billing address was that of Belcher’s parent’s residence

On March 19, 2018, Jane Doe 3 was interviewed at the Children’s Center in .loplin, Missouri by
Child Forensic lnterviewer Aryn Crawford. Jane Doe 3 reconfirmed the information that she had

provided to CCSO detectives Jane Doe 3 stated that Belcher had sex with her on two occasions

Case 6:18-mj-02056-DPR Document 1-1 Filed 08/22/18 Page 6 of 8

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Jane Doe 3 stated the first time occurred at Belcher’s parent"s house. Jane Doe 3 stated that
Belcher had given her alcohol on this occasionl .lane Doe 3 and Belcher had sex in Belcher’s
bedroom, and Belcher used a condom. Jane Doe 3 stated the second time they had sex was near
a creek when Jane Does l and 4 were present.

On April 9, 2018, lane Doe 3 was interviewed at the Children’S Center in Joplin, l\/lissouri by
FBl Child and Adolescent Forensic lnterviewer Rachel l-lappel. Jane Doe 3 stated that she was
14 years old the first time she had sex with Belcher. Belcher had asked Jane Doe 3 if she wanted
to attend a church party, and she said yes. Belcher came to pick her up from Baxter Springs,
Kansas and drove her to his parent’s house in Missouri. After they had sex, Belcher drove Jane
Doe 3 back to Baxter Springs. Jane Doe 3 stated she had also sent Belcher a picture of her breast
and vagina from her cellular phone using Facebook l\/lessenger.

The affiant confirmed that it is a criminal offense for an individual 21 years of age or older who
to engage in any sexual activity with a minor under the laws in the state of Missouri and the state

of Kansas

Case 6:18-mj-02056-DPR Document 1-1 Filed 08/22/18 Page 7 of 8

CONCLUSION
25. Based on the above facts, this affiant believes there is probable cause in support of a criminal

complaint against Nathan Roger Belcher for violation of 18 U.S.C. §2423(a), that is,

transportation with intent to engage in criminal sexual activity.
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Stacy L€e Moore
Special Agent
Federal Bureau of Investigation

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Subscribed and sworn before me this & day of August, 2018.

David P. Rush
United States Magistrate Judge
Western District of Missouri

Case 6:18-mj-02056-DPR Document 1-1 Filed 08/22/18 Page 8 of 8

